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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1111V
                                        UNPUBLISHED


    KATHLEEN BELDON,                                        Chief Special Master Corcoran

                        Petitioner,                         Filed: May 10, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Simina Vourlis, Law Offices of Simina Vourlis, Columbus, OH, for Petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On September 1, 2020, Kathleen Beldon filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). In order to correct the misspelling of her first name, Petitioner filed an
amended petition on April 21, 2021. ECF No. 20. Petitioner alleges that she suffered
Guillain-Barré Syndrome (“GBS”) caused-in-fact by the influenza (“flu”) vaccine she
received on September 13, 2018. Petition at 1, ¶¶ 1, 50. Petitioner further alleges that
she received the vaccine in the United States, that she suffered the residual effects of her
GBS for more than six months, and that neither she nor any other party has filed a civil
action or received compensation for her GBS, alleged as vaccine caused. Id. at ¶¶1, 51,
54-55. The case was assigned to the Special Processing Unit of the Office of Special
Masters.
1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        On May 10, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent states that “[i]t is [his] position that [P]etitioner has satisfied the
criteria set forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
Interpretation (“QAI”). Id. at 6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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